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                             TENTATIVE RULING

              ISSUED BY JUDGE MARGARET M. MANN


   Debtor:      CORE SUPPLEMENT TECHNOLOGY, INC.

   Number:      17-06078-MM7

   Hearing:     10:00 AM Thursday, April 4, 2019

   Motion:  FIRST INTERIM APPLICATION FOR COMPENSATION AND
   REIMBURSEMENT OF EXPENSES FOR ALAN MYERS, ACCOUNTANT FOR
   TRUSTEE


   The Court having considered the Application for Interim Professional
   Compensation (the "Application") filed by Alan Myers, CPA, Accountant for
   Chapter 7 Trustee, for fees of $11,575.00 and expenses of $556.70;

   No opposition having been timely filed and good cause appearing;

   The Application is granted and appearances are excused. Alan Myers, CPA may
   upload an order using CSD 1144 (or in substantial compliance with CSD 1144).
